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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
         v.                                    :              No. 22-cr-15 (APM)
                                               :
BRIAN ULRICH,                                  :
                                               :
                       Defendant.              :

              GOVERNMENT’S MOTION TO CONTINUE SENTENCING

       The United States of America respectfully requests that the Court continue Defendant

Brian Ulrich’s sentencing hearing, which is currently scheduled for October 8, 2024, to allow the

parties time to evaluate the impact of the decision recently issued by the Supreme Court in United

States v. Fischer, No. 23-5572 (June 28, 2024).

       In Fischer, the Court held that Section 1512(c) does not cover “all means of obstructing,

influencing, or impeding any official proceeding.” However, the Court did not reject the

application of 1512(c)(2) to January 6. Rather, the Court explained that the government must

establish that the defendant impaired the availability or integrity for use in an official proceeding

of records, documents, objects, or other things used in the proceeding – such as witness testimony

or intangible information– or attempted to do so. The United States needs time to discuss with

defense counsel the impact of the Court’s decision in Fischer on this case. The parties are

concerned they will not have time to discuss these issues and complete sentencing memoranda by

the current deadline of September 23, 2024.

       “It is firmly established that the granting or refusal of a continuance is a matter within the

discretion of the judge who hears the application, and is not subject to review absent a clear abuse.”

United States v. Burton, 584 F.2d 485, 489 (D.C. Cir. 1978). A court’s review of a motion to

continue “necessarily depends on all the surrounding facts and circumstances,” including: (1) the
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length of the requested delay; (2) whether other continuances have been requested and granted; (3)

the balanced convenience or inconvenience to the litigants, witnesses, counsel, and the court; (4)

whether the requested delay is for legitimate reasons, or whether it is dilatory, purposeful, or

contrived; (5) whether the defendant contributed to the circumstance which gives rise to the request

for a continuance; (6) whether denying the continuance will result in identifiable prejudice to

defendant's case, and if so, whether this prejudice is of a material or substantial nature; (7) and

other relevant factors which may appear in the context of any particular case. Id. at 491.

       Here, the United States seeks a brief continuance to assess the impact of the Fischer

decision. Such a continuance would not prejudice the defendant or the Court; to the contrary, it

would help to ensure a uniform and consistent approach before each judge of the District and

Circuit.

       The United States has consulted with the defense, and they do not oppose this continuance

request. The parties are both generally available in the late October through December time period,

with the exception of the following bad dates: October 25 and 31; November 7-8; November 25-

29; and December 23-27.

       WHEREFORE, the United States respectfully requests that the Court continue the

defendant’s sentencing.


                                              Respectfully Submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                              By:                    /s/
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                                              Assistant United States Attorney
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